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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

AMERICAN CIVIL RIGHTS UNION, §

In its individual and corporate capacities,  §

Plaintiff §
§

V. § Civil Action No. 7:16-CV-103
§

ELECTION ADMINISTRATOR §

RAFAEL R. MONTALVO, §

In his official capacity, §

Defendant §
§ JURY TRIAL REQUESTED

ORDER ON FIRST AMENDED MOTION TO DISMISS
BE IT REMEMBERED, that on the day of , 2016,

came on to be considered Defendant Rafael R. Montalvo’s First Amended Motion to Dismiss for
Lack of Subject-Matter Jurisdiction and Motion to Dismiss for Failure to State a Claim
(“Motion”), made pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). The
Court, having considered the Motion, the response and all pleadings on file in this case, is of the
opinion that such Motion should be GRANTED.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Defendant Rafael
R. Montalvo’s First Amended Motion to Dismiss for Lack of Subject-Matter Jurisdiction and
Motion to Dismiss for Failure to State a Claim is HEREBY GRANTED and all Plaintiff's claims

brought against Defendant are HEREBY DISMISSED with prejudice.

SIGNED on , 20

UNITED STATES DISTRICT JUDGE

x —_————
Order on First Amended Motion to Dismiss Page 1
